UNITED STATES DISTRICT COURT :
EASTERN DISTRICT OF TENNESSEE APR - 7 2021

AT KNOXVILLE
Clerk, U. S. District Court
Eastern District of Tennessee

UNITED STATES OF AMERICA, )
) At Knoxville
Plaintiff, )
) No. 3:21-CR- uf 0
V. ) .
) JUDGES ZEN A liv
BERNARD A. WALKER, JR. )
)
)
Defendants. )
INDICTMENT
COUNT ONE

The Grand Jury charges that, on or about January 31, 2021, in the Eastern District of
Tennessee, the defendant, BERNARD A. WALKER, JR., knowing that he had previously been
convicted of a crime punishable by a term of imprisonment exceeding one year, did knowingly
possess a firearm, and the firearm has been shipped and transported in interstate commerce, in

violation of Title 18, United States Code, Section 922(g)(1).

COUNT TWO
The Grand Jury further charges that, on or about January 31, 2021, within the Eastern

_ District of Tennessee, the defendant, Po in connection with the acquisition of
— namely a FNH Model FNS-9 9mm semi-automatic pistol bearing serial number
GKU0075627, and a Smith & Wesson Model M&P 9mm semi-automatic pistol bearing serial
number HSC7202, from Mike’s Gun Room, a licensed dealer of firearms within the meaning of
Chapter 44, Title 18, United States Code, knowingly made a false and fictitious written statement
in executing a Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives

Form 4473, Firearms Transaction Record, to the effect that Hlwas the actual buyer of the

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firearm indicated on the Form 4473, when in fact, as the defendant then knew, [J was not the
actual buyer of the firearm; in violation of Title 18, United States Code, Sections 922(a)(6) and
924(a)(2).
FIREARM FORFEITURE ALLEGATIONS

1. The allegations contained in Count One and Count Two of this Indictment ‘fe
hereby realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to
Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section
2461(c). |

De Upon conviction of the offense in violation of Title 18, United States Code,
Section 922(g)(1) and/or Section 922(a)(6) and 924(a)(2) as set forth in this Indictment, the
defendants, BERNARD A. WALKER, JR. and shatt forfeit to the United
States pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United States
Code, Section 2461(c), any firearms and ammunition involved in or used in the commission of
the offense, including but not limited to a FNH Model FNS-9 9mm semi-automatic pistol, a

Smith & Wesson Model M&P 9mm semi-automatic pistol, and 9mm ammunition seized from

Bernard A. Walker, Jr. and fF

a If any of the property described above, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. . has been placed beyond thie jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided

without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c). |

A TRUE BILL:

SIGNATURE REDACTED
(_ GRAND JURY FOREPERSON

 

FRANCIS M. HAMILTON II]
ACTING UNITED STATES ATTORNEY

Kd KEL

ALAN S. KIRK
Assistant United States Attorney

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